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                        IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF NEW MEXICO



UNITED STATES OF AMERICA,

               Plaintiff,

       -vs-                                                          CRIMINAL No. 00-557 LH

EDWARD JAMES OLIVER,

               Defendant.



                            MEMORANDUM OPINION AND ORDER

       THIS MATTER comes before the Court on Defendant’s letter to the Court (ECF No. 550),

filed March 26, 2015, which is construed as a Motion for Reduction of Sentence Pursuant to 18

U.S.C. § 3582(c)(2), and the government’s Motion for Order of Ineligibility for Reduced Sentence

Under 18 U.S.C. §3582(c)(2) Regarding Drug Quantity Table (ECF No. 558), filed October 25,

2015. Counsel was appointed for Defendant on March 27, 2015, and takes no position on the

government’s Motion.

       Having reviewed the Motions, the record in this matter, and the relevant law, and otherwise

being fully advised, the Court finds for the reasons stated in its Memorandum Opinion and Order of

February 27, 2013 (ECF No. 519), that it does not have jurisdiction to consider Defendant’s Motion

and it will be dismissed and that the government’s Motion will be granted.



       WHEREFORE,
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      IT IS HEREBY ORDERED that the government’s Motion for Order of Ineligibility for

Reduced Sentence Under 18 U.S.C. §3582(c)(2) Regarding Drug Quantity Table (ECF No. 558),

filed October 25, 2015, is GRANTED.

      IT IS FURTHER ORDERED that Defendant’s Motion for Reduction of Sentence Pursuant

to 18 U.S.C. § 3582(c)(2) (Docket No. 550), filed March 26, 2015, is DISMISSED FOR LACK

OF JURISDICTION.




                                         __________________________________________
                                          SENIOR UNITED STATES DISTRICT JUDGE
